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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                   Southern District
                                                  __________ DistrictofofNew York
                                                                          __________


                  United States of America                        )
                             Plaintiff                            )
                                v.                                )      Case No. 23 Cr. 010 (RMB)
                     Avraham Eisenberg                            )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Avraham Eisenberg                                                                                                    .


Date:          07/20/2022                                                                 /s/ Noam Greenspan
                                                                                            Attorney’s signature


                                                                                           Noam Greenspan
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